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                               UNITED STATES DISTRICT COURT
 8
                              WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
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10          THAN ORN, THALISA ORN,                         CASE NO. C13-5974 MJP
            CLARISSE ORN,
11                                                         ORDER ON MOTIONS IN LIMINE
                                 Plaintiffs,
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                   v.
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            CITY OF TACOMA, KRISTOPHER
14          CLARK,

15                               Defendants.

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            This matter comes before the Court on Plaintiffs’ Supplemental Motions in Limine (Dkt.
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     No. 170) and Defendants’ Supplemental Motions in Limine (Dkt. No. 172). Having reviewed the
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     respective Oppositions (Dkt. Nos. 179 and 183) and all supporting materials, the Court ORDERS
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     as follows:
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     ORDER ON MOTIONS IN LIMINE - 1
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 1                       PLAINTIFFS’ SUPPLEMENTAL MOTIONS IN LIMINE

 2                 1. Plaintiffs request the Court preclude any argument about the number of police

 3   vehicles following Mr. Orn or, as an alternative, to reconsider a prior order excluding any

 4   reference to Corey Thomas. The Court DENIES this motion in limine.

 5                 2. Plaintiffs request exclusion of any reference, comment, or argument about Mr.

 6   Orn committing any felony crimes for which he was found not guilty. The Court GRANTS this

 7   motion in limine pursuant to Rule 403, and the Parties are precluded from making any reference,

 8   comment, or argument about Mr. Orn commission of any felony crimes for which he was found

 9   not guilty.

10                 3. Plaintiffs ask the Court to preclude any reference or argument that Mr. Orn

11   apologized to Tacoma Police Department (TPD) officer Gene Miller during an interview on the

12   day after the shooting. The Court DENIES this motion in limine. The Parties may refer to and

13   argue about this purported apology and probe the context of the purported apology.

14                 4. Plaintiffs ask the Court to preclude any reference or argument about a fingerprint

15   analysis conducted by TPD personnel on Mr. Orn’s car. The Court DENIES this motion in

16   limine.

17                 5. Plaintiffs seek preclusion of any lay witness testimony regarding the risk that Mr.

18   Orn’s driving posed to non-TPD personnel on the night of the shooting. Plaintiffs argue that this

19   would be improper speculative lay testimony in violation of Rules 602 and 701. The Court

20   GRANTS this motion in part but will allow lay testimony on this topic to the extent the witness

21   has personal knowledge.

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 1               6. Plaintiffs seek to preclude defense counsel from asking any leading questions of

 2   law enforcement officers. Defendants do not oppose this request and the Court GRANTS this

 3   motion in limine.

 4               7. Plaintiffs seek preclusion of any reference that the reason law enforcement carry

 5   lots of weapons is because they are “outgunned” and anything can happen. Defendants do not

 6   oppose this request and the Court GRANTS this motion in limine.

 7               8. Plaintiffs request the Court exclude testimony from Defendants’ Expert Thomas

 8   Wickizer and other expert testimony relying on Mr. Wickizer. Plaintiffs argue that this is

 9   necessary to comport with the Court’s prior order excluding evidence of collateral source

10   payments. The Court RESERVES RULING on this motion in limine.

11               9. Plaintiffs ask the Court to preclude Defendants and their experts from referencing

12   statements in Mr. Orn’s medical records that Plaintiffs claim are not pertinent to his medical

13   diagnosis and which do not fall within a hearsay exception. The Court GRANTS this motion in

14   part and will exclude and preclude any reference from Defendants or Defendants’ experts to the

15   following language from the October 19, 2011 progress notes of Dr. Amanda Steen: “His car

16   nicked a police office [sic] standing outside the car. . . .”

17               10. Plaintiffs seek to preclude any evidence or testimony regarding whether or not

18   Plaintiffs’ lawyers were present at any of Mr. Orn’s medical appointments. Defendants do not

19   oppose this request and the Court GRANTS this motion in limine.

20               11. Plaintiffs seek to preclude Defendants and their experts from referencing,

21   commenting on, or introducing medical records regarding the date Mr. Orn left the hospital and

22   whether that was before his discharge date. The Court DENIES this motion in limine.

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     ORDER ON MOTIONS IN LIMINE - 3
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 1                              DEFENDANTS’ MOTIONS IN LIMINE

 2              1. Defendants ask the Court to preclude Plaintiffs from making any statements or

 3   gestures that violate the “Golden Rule” or try to appeal to the passions, emotions, or prejudices

 4   of the jury. Plaintiffs agree not to violate the “Golden Rule”—to ask the jury to put itself in the

 5   position of a party and decide the case from that party’s perspective. The Court GRANTS the

 6   motion as this portion of Defendants’ motion in limine on which the Parties agree, but DENIES

 7   the remainder because it is simply too vague and overbroad to be ruled upon.

 8              2. Defendants seek an order precluding Plaintiffs from presenting, relying upon, or

 9   referring to demonstrative exhibits that have not been properly exchanged. The Court GRANTS

10   the motion in limine in part and orders the parties to exchange all demonstratives for opening and

11   each witness prior to their being called.

12              3. Defendants ask to exclude any “irrelevant opinions” from Plaintiffs’ expert D.P.

13   Van Blaricom that were not included in Plaintiffs’ expert witness disclosures. The Court

14   RESERVES RULING on this motion in limine.

15              4. Defendants request the Court exclude any expert opinions that Mr. Orn’s past

16   medical bills were reasonable. The Court DENIES this motion in limine.

17              5. Defendants ask the Court to preclude Plaintiffs from offering any expert opinions

18   that Mr. Orn’s past or future medical care are causally related to the shooting. The Court

19   DENIES this motion in limine and will allow such testimony and evidence.

20              6. Defendants ask the Court to exclude any opinions from Cloie Johnson. The Court

21   DENIES this motion in limine and finds no valid basis to exclude Ms. Johnson’s opinions.

22              7. Defendants further ask the Court to limit Ms. Johnson’s testimony. The Court

23   RESERVES RULING on this motion in limine.

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 1             8. Defendants ask that the Court preclude Plaintiffs from offering any expert

 2   testimony or opinion that Mr. Orn’s drug use was caused or exacerbated by having been shot by

 3   Defendant Clark. The Court DENIES this motion in limine.

 4          The clerk is ordered to provide copies of this order to all counsel.

 5          Dated November 13, 2020.

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                                                          Marsha J. Pechman
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                                                          United States District Judge
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     ORDER ON MOTIONS IN LIMINE - 5
